Case 2:05-cV-02213-SHI\/|-STA Document 31 Filed 06/02/05 Page 1 of 3 Page|D 29

 
   

 

Fll.ED E’~t’ , ` B.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH .,,, AH 85 55
WESTERN DIVISION
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rr #Erapals
CHERYL AUTlN, CARoL DrFFEE, and W 9 C‘i ~'

ABIGAIL GIVHAN, On Behalf of
Themselves and All Others
Similarly Situated,

Plaintiffs,
VS. NO. 05-2213-Ma/An

SOLVAY PHARMACEUTICALS, INC.,
and HAROLD H. SHELV]'N, Ph.D.,

Defendants.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Bet`ore the court is the J unc l, 2005 motion for admission pro hac vice of Nicole Wilson.
Ms. Wilson is a member in good standing ofthe bar ofthe State othio and is admitted to practice
before the United States District Court for the Northern District of Ohio. Ms. Wilson has obtained
and is familiar With the local rules and professional guidelines of this court.

F`or good cause shown, the motion is granted and Nicole Wilson is admitted to participate
in this action as counsel for Det`endant Solvay Pharmaceuticals, Inc.

IT IS SO ORDERED this is 3"day of June, 2005 .

MM/C-_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in L_:C_;aw[iance
with Ftu|e 58 and/or 79(&} FHCP orl_L____

   

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Honorable Sarnuel Mays
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